
This is an appeal from a determination of a deficiency in income tax for the year 1921 in an amount not stated but less than $10,000.
FINDINGS OF FACT.
The taxpayer is an individual residing at Hempstead, N. Y.
During the year 1921 she contributed to the Church of Our Lady of Loretto, a religious organization located at Hempstead, $3,000 to provide for painting and other repairs upon the said church. During the same year she contributed $500 to Mercy Hospital at Hemp-stead, N. Y.
In her income-tax return for 1921 "the taxpayer deducted $1,202.15 as contributions to charitable and religious organizations, which deduction the Commissioner disallowed. From the disallowance of that amount the taxpayer brings this appeal.
DECISION.
The deficiency should be recomputed by allowing so much of $3,000 as a deduction as does not exceed 15 per cent of the net income. Final determination will be settled on 10 days’ notice.
